                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                            DOCKET NO. 3:21-CR-253-MOC

 UNITED STATES OF AMERICA,                          )
                                                    )
                                                    )
 vs.                                                )                     ORDER
                                                    )
 MICHAEL MANDEL BALDWIN,                            )
                                                    )
                Defendant.                          )
                                                    )


       THIS MATTER is before the Court on Defendant’s Unopposed Motion to Continue

Docket Call/Trial. (#19). Having considered the matter, the Court enters the following Order.

                                              ORDER

        IT IS, THEREFORE, ORDERED that Defendant’s Motion to Continue Docket

Call/Trial (#19) is GRANTED, and this matter is continued to the next criminal term. The Court

finds that the delay caused by this continuance shall be excluded in accordance with 18 U.S.C. §

3161(h)(7)(B)(iv), as failure to grant such a continuance would deny counsel for Defendant the

reasonable time necessary for effective preparation, taking into account the exercise of due

diligence. Moreover, the ends of justice served by granting such continuance outweigh the best

interests of the public and Defendant in a speedy trial. This matter is continued to the next criminal

term, and the time is excluded. The time for filing pretrial motions is ENLARGED by 60 days

from entry of this Order.

                                                  Signed: June 1, 2022
